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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


  UNITED STATES OF AMERICA,

                    Plaintiff,

  Vs.                                         Case No. 15-cr-20652
                                              Hon. George Caram Steeh

  (D-13) ARLANDIS SHY, II,

                 Defendant.
  _____________________________________________________________


        DEFENDANT (D-13) SHY’S MOTION FOR A REMMER HEARING


         Defendant (D-13) Shy moves this Honorable Court for a Remmer hearing

  under Remmer v. United States, 347 U.S. 227, 98 L. Ed. 654, 74 S. Ct. 450 (1954).


                                 Respectfully submitted,
  Date: September 3, 2018


   By: s/Mark H. Magidson                By: s/John T. Theis
   MARK H. MAGIDSON (P25581)             JOHN T. THEIS
   Attorney for Defendant Shy (D-13)     Attorney for Defendant Shy (D-13)
   815 Griswold, Suite 810               190 South LaSalle St., Suite 520
   Detroit, MI 48226                     Chicago, IL 60603
   313-963-4311                          (312) 782-1121
   313-995-9146 fax
   mmag100@aol.com




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                       BRIEF IN SUPPORT OF
      DEFENDANT (D-13) SHY’S MOTION FOR A REMMER HEARING



                                        FACTS

        Before trial began in this complex mega case involving six codefendants,

  potential jurors were given a questionnaire to assist voir dire. The questions

  informed the jurors that this case involved murder, assaults, shootings, and

  members of the Seven Mile Blood (SMB) gang.

        At some time before or during trial, Deputy U.S. Marshal Mike Jordan, who

  was in charge of this case, gave the jurors his cell phone number “in case they were

  late, had car troubles, received threats, etc.” (Exhibit A – Filed Rpt. of SDUSM

  Nidiffer).

        On August 21, 2018, after the close of all evidence and during the jury’s

  deliberations, a juror, unknown to any of the defense counselors, sent the following

  text message to Jordan:

        If we think there maybe some conspiracy with in the group how do we voice
        that without being singled out? We don’t know for sure but it’s really
        bothering some of us. [Ex. A.]


        Special Deputy U.S. Marshal Jody Nidiffer interviewed that juror to

  investigate any potential outside interference with the jury’s deliberations. The

  unnamed juror told Nidiffer that the jury believed “that two of the jurors were


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  ‘conspiring’ to hold up the deliberations and it is causing frustration and arguments

  within the deliberations.” (Ex. A). The juror also allegedly stated that no one

  outside the jury had approached or threatened the jury. Id.

        Nidiffer reported her opinion to the trial Judge, Hon. George Caram Steeh,

  that she believed the incident was jury in-fighting, and that no tampering had

  occurred. Id. The trial Court agreed, and the jury was allowed to continue its

  deliberations.

        The information about the juror’s text to Jordan and later interview by

  Nidiffer were not disclosed to the parties until August 23, 2018, during

  deliberations. The jury reached its verdict on August 27, 2018.




                                     ARGUMENT


        The U.S. Supreme Court has addressed the type of jury incident that

  occurred in this case and created the following rule:

               In a criminal case, any private communication, contact, or tampering,
        directly or indirectly, with a juror during a trial about the matter pending
        before the jury is, for obvious reasons, deemed presumptively prejudicial, if
        not made in pursuance of known rules of the court and the instructions and
        directions of the court made during the trial, with full knowledge of the
        parties. The presumption is not conclusive, but the burden rests heavily upon
        the Government to establish, after notice to and hearing of the defendant,
        that such contact with the juror was harmless to the defendant. [Remmer v.
        United States, 347 U.S. 227, 229, 74 S. Ct. 450, 451 (1954)(citation
        omitted).]

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         In Remmer, after the jury had returned its verdict, the defendant learned for

  the first time that during the trial a person unnamed told a certain juror that he

  could profit by bringing in a verdict favorable to the defendant. Id. at 228. The

  juror reported the incident to the judge, who informed the prosecuting attorneys.

  Id. As a result, the FBI investigated and its report was considered by the judge and

  prosecutors alone. Id. They concluded that the statement to the juror was made in

  jest, and nothing further was done or said about the matter. Id. The defendant and

  his counsel first learned of the matter by reading of it in the newspapers after the

  verdict. Id.

         The defendant in Remmer made a motion for a new trial, arguing that the

  defendant was substantially prejudiced, denied a fair trial, and he requested a

  hearing to determine the circumstances surrounding the incident and its effect on

  the jury. Id. The trial court denied the motion, and the Supreme Court reversed and

  remanded for a hearing, stating that

         [w]e do not know from this record, nor does the petitioner know, what
         actually transpired, or whether the incidents that may have occurred were
         harmful or harmless. The sending of an F. B. I. agent in the midst of a trial to
         investigate a juror as to his conduct is bound to impress the juror and is very
         apt to do so unduly. A juror must feel free to exercise his functions without
         the F. B. I. or anyone else looking over his shoulder. The integrity of jury
         proceedings must not be jeopardized by unauthorized invasions. The trial
         court should not decide and take final action ex parte on information such as
         was received in this case, but should determine the circumstances, the

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        impact thereof upon the juror, and whether or not it was prejudicial, in a
        hearing with all interested parties permitted to participate. [Remmer, 347
        U.S. at 229-30.]



        The U.S. Sixth Circuit court of Appeals has held that Remmer “controls the

  question of how the district court should proceed where such allegations are made,

  i.e., a hearing must be held during which the defendant is entitled to be

  heard.” (Emphasis added.) United States v. Pennell, 737 F.2d 521, 532 (6th Cir.

  1984). “This court has long held that the remedy for allegations of juror partiality

  is a hearing in which the defendant has the opportunity to prove actual bias.” Smith

  v. Phillips, 455 U.S. 209, 215, 71 L. Ed. 2d 78, 102 S. Ct. 940 (1982).

        In this case, Defendant was not given a hearing to determine whether or not

  the incident affected the jury’s impartiality or bias. Just as in Remmer, Defendant

  was not made aware of the incident until two days after it had occurred. A hearing

  was not held because the trial Court reached the ex parte conclusion that no

  tampering had occurred, simply jury in-fighting, relying on an investigation

  performed by an agent of the Plaintiff Government and without participation by

  any defense counsel. And just as in Remmer, “[w]e do not know from this record,

  nor does the petitioner know, what actually transpired, or whether the incidents

  that may have occurred were harmful or harmless.” Remmer, 347 U.S. at 229-30.

        What Defendant and counsel know now is that Deputy Marshal Jordan gave



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  his cell phone number to the jurors, in part, in case they “received threats.” (Ex.

  A). That was itself an outside act, extraneous to the jury, creating a bias and

  impartial atmosphere for the jury, that is, the jury was made aware that it could be

  the victim of the violence alleged in the indictments.

        The Sixth Circuit Court has defined "an extraneous influence on a juror [as]

  one derived from specific knowledge about or a relationship with either the parties

  or their witnesses." United States v. Herndon, 156 F.3d 629, 635 (6th Cir. 1998).

  Examples of extraneous influence include "prior business dealings with the

  defendant, applying to work for the local district attorney, conducting an out of

  court experiment, and discussing the trial with an employee." United States v.

  Owens, 426 F.3d 800, 805 (6th Cir. 2005).

        In United States v. Davis, 177 F.3d 552 (6th Cir. 1999), one of the jurors

  (Juror Estes) sent a note to the judge asking to be excused from further service. Id.

  at 556. Estes based his fear in part on the fact that he lived in the same area as the

  defendants, that he had previously done business with some of the defendants, and

  that one of his employees told him during trial "that members of the community

  were already aware of Estes's jury service and were discussing his role in the

  proceedings." Id. The Sixth Circuit remanded for a Remmer hearing, stating the

  following:

        Given the fact that Estes was clearly motivated by fear of retaliation from
        the defendants, their families, and their acquaintances, the fact that the

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        information that prompted the fear was provided by an extraneous source,
        and the fact that a number of jury members openly agreed that a person in
        Estes's predicament should seek to be removed from the panel, such further
        inquiry seems not only appropriate, but necessary to ensure the impartiality
        of the jury. [Davis, 177 F.3d at 557.]


        In this case, Deputy Marshal Jordan’s message to the jury that they could

  call him if they received threats was an extraneous influence under Davis, along

  with the jurors’ concern about two jurors conspiring during deliberations. The

  problem is that without the hearing, the extent of the unnamed juror’s knowledge is

  unknown. The unnamed juror may not have had personal knowledge of additional

  outside influences, but the entire jury knew that a conspiracy existed.

        The unnamed juror who reported the incident thought it was serious enough

  to report to Jordan and that it met the criteria for sending him a text message. Also,

  the juror was fearful of being exposed for having reported the incident, which

  indicates its seriousness and negative affect on the jury.

        The fact that the incident occurred during deliberations also means it had a

  greater affect on the verdict, and the information reported by the unnamed juror to

  Deputy Marshal Nidiffer during the interview indicates that the “conspiracy”

  affected the whole jury because they were all aware of it.




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        WHEREFORE, Defendant (D-13) Shy moves this Honorable Court for a

  Remmer hearing with all of the jurors and DUSM Mike Jordan and SDUSM Jody

  Nidiffer as witness available for examination and testimony.


                                             Respectfully submitted,

  Date: September 3, 2018


   By: s/Mark H. Magidson                    By: s/John T. Theis
   MARK H. MAGIDSON (P25581)                 JOHN T. THEIS
   Attorney for Defendant Shy (D-13)         Attorney for Defendant Shy (D-13)
   815 Griswold, Suite 810                   190 South LaSalle St., Suite 520
   Detroit, MI 48226                         Chicago, IL 60603
   313-963-4311                              (312) 782-1121
   313-995-9146 fax
   mmag100@aol.com




                             CERTIFICATE OF SERVICE

        I certify that on September 3, 2018, I electronically filed the above Motion
  with the Clerk of the Court using the CM/ECF system, which will send notification
  of such filing to the parties of record.
                                             By: s/Mark H. Magidson
                                             MARK H. MAGIDSON (P25581)
                                             Attorney for Defendant Shy (D-13)




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